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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

             UNITED STATES OF AMERICA,             :     CRIMINAL ACTION
                                                   :
             v.                                    :     NO: 1:08-CR-356-18-WSD-ECS
                                                   :
             LUZ MARINA LOAIZA-CLAVIJO             :


                                    REPORT AND RECOMMENDATION

                  Presently pending before the Court is the issue of whether,

             under     the   principles    enunciated    in    Daubert     v.   Merrill-Dow

             Pharmaceuticals, Inc., 509 U.S. 579 (1993), and under the applicable

             Federal Rules of Evidence, Defendant Luz Marina Loaiza-Clavijo

             should be permitted to introduce polygraph evidence at trial.                For

             the reasons discussed herein, the undersigned RECOMMENDS that

             Defendant’s polygraph evidence be DENIED admission under Daubert,

             and under Rule 702 and 403 of the Federal Rules of Evidence.1

                                                  I.
                                              Background

                  On    September   2,    2008,   Defendant,   along     with   others,   was

             indicted on charges of narcotics and money laundering conspiracy.

             [Doc. 1]; see also [Doc. 130].        On April 21, 2010, this Court held


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                     The issue of the admissibility of Defendant’s polygraph
             evidence at trial was addressed at a pre-trial conference on July
             7, 2011. [Doc. 785]. The Government made clear its opposition to
             admission and the Court set a briefing schedule for Defendant to
             file a particularized motion in support of admissibility. Defendant
             filed her brief, [Doc. 796]. The Government has responded, [Doc.
             803], and Defendant has filed her reply. [Doc. 806].




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             a competency hearing under 18 U.S.C. § 4241 and found that Defendant

             was not competent to stand trial at that time. [Doc. 692].             Less

             than one month later, on May 10, 2010, Defendant submitted to a

             private polygraph examination. The admissibility of the results of

             this examination, and of the expert testimony proffered with the

             results, is the subject of this report and recommendation.

                   Pursuant to the Court’s findings at the competency hearing, on

             May 27, 2010, Defendant was ordered to be committed to the custody

             of   the   Attorney   General   for   hospitalization,   evaluation,    and

             treatment. [Doc. 693]. She was admitted to the Federal Medical

             Center-Carswell at Fort Worth, Texas.        While still in the Attorney

             General’s custody, Defendant filed, on August 19, 2010, her notice

             of intent to use the polygraph evidence from the May 10, 2010,

             polygraph examination. [Doc. 719].        On September 8, 2010, after she

             completed the court-ordered psychiatric evaluation and treatment,

             Defendant was released to return to the district. [Doc. 724].            On

             June 29, 2011, after a hearing, the Court found that Defendant had

             recovered and was competent to stand trial. [Doc. 775].

                   The Court held a pretrial conference on July 7, 2011, during

             which time the Court addressed the issue of Defendant’s proffered

             polygraph evidence. [Doc. 785].       The parties were directed to brief

             their positions on whether Defendant’s polygraph evidence should be

             admitted, thereby assisting the Court also in a determination of

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             whether a recommendation could then be made on admissibility or

             whether a further hearing was required under Daubert. In accordance

             with the Court’s directives, Defendant filed a brief in support of

             admissibility on August 12, 2011. [Doc. 796].            The Government

             responded on August 24, 2011, in opposition to the admission of

             Defendant’s polygraph evidence at trial. [Doc. 803].            Defendant

             filed her reply to the government on September 9, 2011. [Doc. 806].

                  On August 12, 2011, Defendant also filed a motion to hold

             evidence open for the aforementioned potential Daubert hearing.

             [Doc. 795].   Pursuant to this motion and her brief in support of

             admitting the evidence, Defendant requested “that the Court grant

             her ex parte request to retain a polygraph expert (in addition to

             the polygraph examiner [who tested Defendant]) to make more fully

             her case” in support of admitting the evidence.       [Doc. 796, at 2];

             see also [Doc. 795, at 1-3].     This request was granted.

                  The Court held a telephone conference with the parties on

             October 14, 2011, [Doc. 822], and Defendant was ordered to submit

             within thirty (30) days the affidavit of Defendant’s additional

             polygraph expert in support of Defendant’s notice of intent to

             tender the polygraph evidence. At that time, it was agreed that the

             affidavit of the expert, Dr. David C. Raskin, could be considered,

             along with the book, The Polygraph and Lie Detection, published by

             the National Research Council of the National Academies, and that

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             this material would complete the evidentiary record for the purpose

             of   the   Court      issuing   a    report    and      recommendation   on   the

             admissibility of the polygraph evidence.2 [Doc. 822].                 On November

             2, 2011, Defendant filed Dr. Raskin’s affidavit.                [Doc. 825].

                                                     II.
                                                 Discussion

                  After consideration of the evidence presented, and for the

             reasons set forth below, the Court finds that a further evidentiary

             hearing    is   not   necessary     under     Daubert    and   that   Defendant’s

             polygraph examination evidence should not be admissible at trial

             under either Federal Rule of Evidence 702 or 403, as construed under

             Daubert.

                  “United States v. Piccinonna, 885 F.2d 1529 (11th Cir. 1989)(en

             banc), restricts the use of polygraph evidence in this Circuit to

             only two contexts.       A district court may admit polygraph evidence

             when the parties stipulate in advance as to the test’s circumstances

             and scope of its admissibility, or ‘to impeach or corroborate the

             testimony of a witness at trial.’” United States v. Gilliard, 133

             F.3d 809, 811-12 (11th Cir. 1998) (citing Piccinonna, 885 F.2d at

             1536). However, this rule does not “preempt[] or limit[] in any way

             the trial court’s discretion to exclude polygraph expert testimony



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                    The affidavit of the polygraph examiner, Marc E. Foster, and
             his report are attached to Defendant’s Brief. [Doc. 796-1].

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             on other grounds under the Federal Rules of Evidence.” Id. (citing

             Piccinonna, 885 F.2d at 1536); see also United States v. Henderson,

             409 F.3d 1293, 1301-02 (11th Cir. 2005).

                   To   admit   polygraph   evidence    to   impeach    or   corroborate    a

             witness’ testimony, the proponent of the evidence must satisfy three

             conditions. Piccinonna, 885 F.2d at 1536.            First, it must provide

             adequate notice to the opposing party that it will offer polygraph

             evidence. Id. Second, the opposing party must be given a “reasonable

             opportunity to have its own polygraph expert administer a test

             covering substantially the same questions.” Id. Third, the Federal

             Rules   of   Evidence   for    the   admissibility    of   corroboration      or

             impeachment testimony will govern the proffer. Id. In this case, it

             appears that the first two of the Piccinonna conditions were met.

             A.   Rule 702 and Daubert

                   Even if the admission of the polygraph evidence would otherwise

             be proper under the first two Piccinonna conditions to corroborate

             Defendant’s testimony, that does not end the inquiry. The testimony

             must also be admissible under the Federal Rules of Evidence.            Under

             Rule 702, as interpreted by Daubert, expert scientific evidence must

             be both reliable and relevant. Daubert, 509 U.S. at 589. Thus, the

             evidence must: (1) constitute scientific knowledge; and (2) assist

             the trier of fact to understand the evidence or to determine a fact

             at issue. Id. at 589-91. The scientific knowledge question requires

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             the trial court to consider the theory or technique upon which the

             testimony is based in light of at least five factors:

                (1) whether the theory or technique can be and has been
                    tested;

                (2) whether the theory or technique has been subjected
                    to peer review and publication;

                (3) the known or potential rate of error for that
                    theory or technique;

                (4) the existence and maintenance of standards
                    controlling the theory or technique’s operation; and

                (5) whether the theory or technique has attained
                    general acceptance within the relevant scientific
                    community.

             Id. at 593-94; Gilliard, 133 F.3d at 812.

                  In determining whether the evidence appropriately assists the

             trier of fact, the Daubert Court underscored the enhanced importance

             and role Fed. R. Evid. 403 plays in excluding overly prejudicial

             evidence, because “[e]xpert evidence can be both powerful and quite

             misleading because of the difficulty in evaluating it.” Daubert, 509

             U.S. at 595 (quoting Weinstein, Rule 702 of the Federal Rules of

             Evidence is Sound; It Should Not Be Amended, 138 F.R.D. 631, 632

             (1991)).

                  1.    First Daubert Factor: Testing

                  A polygraph examination measures an individual’s physiological

             responses to questioning.    United States v. Scheffer, 523 U.S. 303,

             313 (1998) (plurality opinion).         An examiner then interprets the

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             physiological data and gives an opinion about whether the subject

             was lying.     Henderson, 409 F.3d at 1302.     On the issue of testing,

             there is no question that the theory or technique of polygraph

             examination has been subjected to peer review and publication, see

             generally Raskin Aff. [Doc. 825-1], but the undersigned concludes

             that neither the theory nor the technique can be adequately tested

             – as illustrated by the fact that there is no reliable measure of

             a polygraph’s ability to detect deception accurately.3             Dr. Raskin

             states that “the basis of polygraphy ... credibility assessment is

             a scientific theory that can be and has been tested with the methods

             of   science...,”   [Doc.   825-1,   at   3],   but   there   is    no   known

             physiological response to lying, and thus no scientific theory in

             that regard.    Instead, polygraph “science” and research is based on

             hypotheses that examine correlations between polygraph testing and



                   3
                     The most common technique used by polygraph examiners for
             the physiological detection of deception is the comparison question
             test, or CQT. Raskin Aff. [Doc. 825-1, at 3]. The CQT assesses
             credibility by looking at whether the test subject has different
             physiological reactions to two different types of questions. [Id.].
             For example, a subject may be asked a direct accusatory question
             that addresses the issue under investigation, followed by one that
             is more ambiguous and meant to illicit a negative response. [Id.].
             “The rationale of the comparison question test predicts that guilty
             subjects will produce larger physiological responses to the relevant
             questions to which they know they are deceptive, than to the
             relatively unimportant comparison questions.” [Id. at 4].    The CQT
             technique was used in Defendant’s May 10, 2010, polygraph
             examination [Doc. 825-1, at 4], that was performed by Marc. E.
             Foster, a licensed polygraph examiner. See generally [Doc. 719].

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             purported rates of accuracy in determining deception.            See [Doc.

             825-1, at 5-14].

                  “Practitioners do not claim that the instrument measures

             deception directly.    Rather, it is said to measure physiological

             responses that are believed to be stronger during acts of deception

             than at other times.” Committee to Review the Scientific Evidence

             on the Polygraph, The Polygraph and Lie Detection 13 (National

             Academy of Sciences, 2003).4 The problems associated with this type

             of testing are numerous: physiological responses consistent with

             deception may also be the product of various conditions that have

             nothing to do with the truth or falsity of a response.           As stated

             in The Polygraph and Lie Detection:

                 Almost a century of research in scientific psychology and
                 physiology provides little basis for the expectation that
                 a polygraph test could have extremely high accuracy.
                 Although psychological states often associated with
                 deception (e.g., fear of being judged deceptive) do tend
                 to affect the physiological responses that the polygraph
                 measures, these same states can arise in the absence of
                 deception.    Moreover, many other psychological and
                 physiological factors (e.g., anxiety about being tested)
                 also affect those responses.        Such phenomena make
                 polygraph testing intrinsically susceptible to producing
                 erroneous results.     This inherent ambiguity of the
                 physiological measures used in the polygraph suggests
                 that further investments in improving polygraph technique
                 and interpretation will bring only modest improvements in
                 accuracy.



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                      The cited source is the aforementioned           book    and   was
             submitted as Def.’s Ex. 3 to [Doc. 796].

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                 Polygraph research has not developed and tested theories
                 of the underlying factors that produce observed
                 responses. Factors other than truthfulness that affect
                 the physiological responses being measured can vary
                 substantially across settings in which polygraph tests
                 are used. There is little knowledge about how much these
                 factors influence the outcomes of polygraph tests in
                 field settings.... The lack of understanding of the
                 processes that underlie polygraph responses makes it very
                 difficult to generalize from the results obtained in
                 specific research settings or with particular subject
                 populations to other settings or populations, or from
                 laboratory research studies to real-world applications.

             Id. at 2-3.   Recognizing the inherent inadequacies of the studies

             that purport to test the validity of polygraph examination results,

             the Court finds that, under the first Daubert factor, neither the

             theory nor the technique of polygraph testing used in this case has

             been or can be adequately tested.

                  2.   Second Daubert Factor: Peer Review and Publication

                  The government concedes that the general theory and technique

             of polygraph testing has been subjected to “numerous studies,

             research, peer review, and publication over nearly a century.” [Doc.

             803, at 8].

                  3.   Third Daubert Factor: Rate of Error

                  The inability to test adequately the validity of polygraphy

             raises    problems   for   establishing    a    reliable    error     rate.

             Unsurprisingly, accuracy in examination results is highly variable

             across situations, as previously discussed, and the quality of the

             studies “falls far short of what is desirable.” The Polygraph and

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             Lie Detection 3.     Despite Dr. Raskin’s assertion that “the CQT very

             accurately discriminates between truth tellers and deceivers,” [Doc.

             825-1, at 8], there is no basis to establish a reliable error rate

             for polygraph results.      “[S]pecific incident polygraph tests can

             discriminate lying from truth telling at rates well above chance,

             although well below perfection.”         The Polygraph and Lie Detection

             4; see also United States v. Scheffer, 523 U.S. 303, 310 (1998)

             (noting that while some studies show polygraph tests to be accurate

             and reliable, others have found the use of the CQT technique to be

             as accurate as tossing a coin).        Moreover, because “the only thing

             that a polygraph examination proves is that the examinee believes

             her own story,” Norelus v. Denny’s, Inc., 628 F.3d 1270, 1284 (11th

             Cir. 2010) (citations omitted), “accuracy,” in the context of

             polygraph results is a very slippery term.

                  Defendant asserts that, because polygraph testing has a known

             error rate, “the quality of the error rate is a factor that goes to

             the weight to be given the evidence, not the admissibility.” [Doc.

             806, at 3].     But under Daubert, the error rate, or potential for

             error,   must   be   considered   as    a   factor   in   deciding   whether

             Defendant’s polygraph evidence constitutes scientific evidence,

             which speaks to its admissibility.          Accordingly, the Court finds

             that, in conjunction with the inability of polygraph results to be

             adequately tested, there is insufficient evidence to establish a

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             reliable error rate or to know the true potential for error in

             polygraph examinations.       See Henderson, 409 F.3d at 1303 (upholding

             exclusion of polygraph evidence where the magistrate judge found

             that the error rate for polygraph testing did not meet the stricter

             standards of scientific methods).

                   4.   Fourth Daubert Factor: Standards

                   The Court also finds that the fourth Daubert factor, the

             existence and maintenance of controlling standards, weighs against

             admissibility in this case.      Defendant, through Dr. Raskin, submits

             that numerous standards exist in the administration of polygraph

             tests. [Doc. 825-1, at 31].         These standards are maintained and

             enforced by various agencies and institutes and are based upon

             scientific principles and procedures. [Id.].        However, maintenance

             and   adherence   to   such   standards   are   self-imposed   and     cannot

             adequately guarantee the validity of the polygraph result. As noted

             by the Court in Scheffer, an examinee could still adopt deliberate

             countermeasures to defeat accurate readings.        523 U.S. at 310 n.6.

             Thus, even with the existence of and adherence to standards, the

             result may not be accurate.        In this case, moreover, Defendant’s

             polygraph examiner, Mr. Foster, did not follow all of the American

             Polygraph Association’s Standards of Practice, the rules to which

             he generally adheres. [Doc. 796-1, at 2].       Specifically, Mr. Foster

             did not videotape or record the test, as required by APA Standard

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             3.9.9. The absence of any recording or video deprives both the jury

             and the government of their ability to see the test and judge

             whether Mr. Foster complied with applicable standards necessary to

             assure a fair and reliable test. For these reasons, the Court finds

             that the fourth Daubert factor weighs in favor of excluding the

             evidence.

                  5.     Fifth Daubert Factor: General Acceptance

                  As to the fifth Daubert factor – general acceptance of the

             technique – Defendant submits that the fact that the FBI and other

             law enforcement agencies use polygraphy can only be explained by a

             general acceptance of the technique. [Doc. 796, at 16].                But a

             review of the case law in the federal circuits and the Supreme Court

             show substantial disagreements over the effectiveness of polygraphs.

             See Scheffer, 523 U.S. at 309 (“[T]here is simply no consensus that

             polygraph evidence is reliable.”); Henderson, 409 F.3d at 1303. And

             there is no consensus within the scientific and legal community over

             the efficacy of polygraph evidence. See Polygraph and Lie Detection

             213-14 (“The research on polygraph accuracy fails in important ways

             to reflect critical aspects of field polygraph testing, even for

             specific incident investigation .... Virtually all the observational

             field studies ... have been plagued by measurement biases that favor

             overestimation of accuracy, such as examiner contamination....”).

             As Judge Ed Carnes recently observed: “Opinions based on polygraph

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             examinations       are    seldom,   if   ever,      admissible   into    evidence.”

             Norelus,628 F.3d at 1284.5          Accordingly, the Court finds that the

             fifth Daubert factor does not weigh in favor of admissibility.

                   For    the   foregoing    reasons,      the    Court   concludes    that   the

             polygraph examination evidence offered by Defendant does not satisfy

             the requirements of reliability and relevance under Daubert and

             would not, therefore, assist the trier of fact to understand the

             evidence or determine a fact at issue. Accordingly, Rule 702 is not

             satisfied.

             B. Rule 403

                   Defendant’s polygraph evidence necessarily invades the province

             of the jury, which must ultimately determine the credibility of all

             the witnesses.          In that regard, it has been observed that “courts

             do not need lie detectors, since juries already serve this function,

             a   role    that   is    constitutionally     mandated.”      Polygraph    and   Lie

             Detection 206.          Unlike other types of experts who assist the jury

             in understanding factual matters outside the juror’s knowledge, a

             polygraph expert merely supplies the jury with another opinion, in

             addition to their own, as to whether the witness is telling the

             truth. See Scheffer, 523 U.S. at 313. While such an opinion is not



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                    He went on in Norelus to add “We have never held that it is
             an abuse of discretion to exclude the opinion of a polygraph
             examiner....” Id.

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             per se inadmissible, under Rule 403 the Court must weigh whether the

             probative value of the evidence is substantially outweighed by the

             danger of unfair prejudice, confusion of the issues, and the

             potential to mislead the jury.       See Gilliard, 133 F.3d at 815-16

             (citing Rule 403).

                     In this case the probative value of the evidence is undermined

             by the factors discussed above under Rule 702 and Daubert which go

             to the reliability and relevance of the opinions offered. On the

             prejudice side is the danger that the jury may accord undue weight

             to an expert opinion seeking to validate Defendant’s testimony on

             two critical and ultimate issues in the case.         In particular, the

             two questions are whether Defendant during a pertinent time frame

             “conduct[ed] any financial transaction she knew at the time was

             illegal” and whether during the same time frame Defendant knew she

             “was involved with an illegal drug trafficking conspiracy.” [Doc.

             796-1, at p. 14].       These two questions go to the core of what

             Defendant knew about the illegality of the conduct she is charged

             with.

                     In addition, the amount of time needed to present the evidence

             would shift the focus of the jury away from determining guilt or

             innocence to collateral matters.         See Gilliard, 133 F.3d at 815;

             Schaefer, 523 U.S. at 314.     Add to the foregoing concerns the fact

             that the examination was conducted through an interpreter at a time

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             when the Defendant had been adjudicated incompetent to assist

             counsel and to understand the proceedings; that the government was

             not given prior notice or an opportunity to be present at the

             administration of the polygraph; and that the examination was not

             recorded, and the balance tips in favor of exclusion.           Accordingly,

             the Court finds that the probative value of Defendant’s evidence,

             which is slight, is substantially outweighed by the unfair prejudice

             to the Government, by the amount of time necessary to present

             evidence, and by its potential to mislead or confuse the jury.           See

             Gilliard, 133 F.3d at 815-816 (affirming exclusion of polygraph

             under Rule 403 even where examination videotaped, but without prior

             notice).

                                               III.
                                            Conclusion

                  For all the foregoing reasons, the undersigned concludes that

             Defendant’s polygraph evidence does not satisfy the requirements of

             Daubert and Rule 702; that the evidence will not assist the jury in

             understanding the evidence or determining a fact in issue; that the

             evidence has slight probative value; that the Government will be

             unfairly prejudiced by admission of the evidence; that the jury’s

             focus may be diverted from the real issues in the case; that the

             evidence will unnecessarily prolong trial; that there is a strong

             potential   for   confusion   of   the   issues;   and   that   Defendant’s


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             polygraph evidence should not be admitted under either Federal Rule

             of Civil Procedure 702 or 403.     Accordingly, IT IS RECOMMENDED that

             Defendant’s polygraph evidence be excluded.

                  It appearing that there are no further pretrial or discovery

             matters to bring before the undersigned as to this defendant, it is

             therefore ORDERED that this CASE be and is hereby CERTIFIED as ready

             for trial.




                  SO ORDERED, this 25th day of January, 2012.



                                                      S/ E. Clayton Scofield III
                                                      E. Clayton Scofield III
                                                      UNITED STATES MAGISTRATE JUDGE




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